5. Net income from operating a business, profession, or

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LMM Macey eile yam Com ela di Aan elt mer: ioe fel fete) Setoae facts MT itetome WATT a

According to the calculations required by

Debtor 1 Charles Ray Mosely this Statement:
First Name Middle Name Last Name
Debtor 2 Cj 1. Disposable income is not determined
(Spouse, if filing) First Name Middle Name Last Name under 11 U.S.C. § 1325(b)(3).
; 5 ictri Cc] 2. Disposable income is determined

United States Bankruptcy Court for the: Southem District of Texas [| under 11 U.S.C. § 1325(b)(3).

Cc ber 25-31187

‘itknown) “ 3. The commitment period is 3 years.

United States Courts i
Southern District oflexas Cj 4, The commitment period is 5 years.
FILED

[J] check if this is an amended filing

MAR 1 7 2025

Official Form 122C-1 Nathan Ochsner, Clerk of Court
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).

Calculate Your Average Monthly Income

1. What is your marital and filing status? Check one only.
[1] Not married. Fill out Column A, lines 2-11.

C] Married. Fill out both Columns A and B, lines 2-11.

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
August 31, if the amount of your monthly income varied during the 6 months, add the income for ail S months and divide the total by 6. Fil in
the resuit. De not include any income amount more than once. For example, if both spouses own the same rental property, put the income
from that property in one column only. if you have nothing to report for any line, write $0 in the space.

Column A Golumn B
Debtor 1 Debtor 2 or
non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all

payroll deductions). $ 0.00
| 3. Alimony and maintenance payments. Do not include payments from a spouse. $____ 0.00

4. Ail amounts from any source which are regularly paid for household expenses of
you or your dependents, including child support. Include regular contributions from
an unmarried partner, members of your household, your dependents, parents, and
roommates. Do not include payments from a spouse. Do not include payments you
listed on line 3. $ 0.00 $

Debtor 1 Debtor 2

farm

Gross receipts (before all deductions) § §

Ordinary and necessary operating expenses -$§ -$

Net monthly income from a business, profession, or farm $ 0.00 $ 0.00 rOPy $ 0.00 $ 0.00

6. Net income from rental and other real property Debtor 1 Debtor 2

Gross receipts (before all deductions) $ $

Ordinary and necessary operating expenses -$ -$

Net monthly income from rental or other real property g 0.00 g¢ 0.00 a $ 0.00 $ 0.00

Official Form 122C-1 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period page 1

Case 25-31187 Document 19 Filed in TXSB on 03/17/25 Page 2 of 3

Debtor 1 Charles Ray Mosely Case number When: 20-3.1 187
Firet Nene Middie Neme Last Name
Column A Column B
Debtor 1 Debtor 2 or
non-fifing spouse
7. Interest, dividends, and royalties g___9.00 $
8. Unemployment compensation $___-9.00 $

Do not enter the amount if you contend that the amount received was a benefit under
the Social Security Act. Instead, list it here:

For you $
For your spouse

9. Pension or retirement income. Do not include any amount received that was a 1.195.53
benefit under the Social Security Act. §xn Wee $

40. Income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act or payments
received as a victim of a war crime, a crime against humanity, or international or
domestic terrorism. If necessary, list other sources on a separate page and put the

total below.
Met Life annunity $ 230.09 $
s $
Total amounts from separate pages, if any. Ss +3

11. Calculate your total average monthly income. Add lines 2 through 10 for each
column. Then add the total for Column A to the total for Column B. $ 1,425.62 | + $ 0.00

Co Determine How to Measure Your Deductions from Income

¢ 1,425.62

Total average
monthly income

12, Copy your total average monthly income from line 11.

$ 1,425.62
13. Calculate the marital adjustment. Check one:
You are not married. Fill in 0 below.
Cj You are married and your spouse is filing with you. Fill in 0 below.
You are married and your spouse is not filing with you.
Fill in the amount of the income listed in line 17, Column B, that was NOT regularly paid for the household expenses of
you or your dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than
you or your dependents.
Below, specify the basis for exciuding this income and the amount of income devoted to each purpose. If necessary,
list additional adjustments on a separate page.
If this adjustment does not apply, enter 0 below.
$
$
+§
0.00 i 0.00
Total $ Copy here > —_—__
14. Your current monthly income. Subtract the total in line 13 from fine 12. $ 1,425.62
15. Calculate your current monthly income for the year. Follow these steps:
15a. Copy line 14 here => $__1,425.62_
Multiply fine 15a by 12 (the number of months in a year). x 12
155. The result is your current monthly income for the year for this part of the form. $_17,107.44

Official Form 122C-1 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period page 2

Case 25-31187 Document 19 Filed in TXSB on 03/17/25 Page 3 of 3
Debtor 1 Charles Ray Mosely Case number (i known) 25-31187

Firet Nema Middle Neme Lest Name

16. Calculate the median family income that applies to you. Follow these steps:
46a, Fill in the state in which you live. Texas
1

16b. Fillin the number of people in your household.

16c. Fillin the median family income for your state and size of household. $ 76,292.00

To find a list of applicable median income amounts, go online using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk’s office.

17. How do the lines compare?

17a. Cj Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Ca/culation of Your Disposable Income (Official Form 122C—2).

17b. Cj Line 15b is more than line *6c. On the top of page 1 of this form, check box 2, Disposable income is determined under
11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C—2).
On line 39 of that form, copy your current monthly income from line 14 above.

a Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

18. Copy your total average monthly income from line 11. $ 1,425.62

19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend that

calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s income, copy
the amount from line 13.

19a. If the marital adjustment does not apply, fill In 0 OM lIN@ 19. occ esceceecscssssrsseersseesessecsseseenseenerssneaesacueetarsesentseneeseentensesees

— $
19b. Subtract line 19a from line 18. $_ 1,425.62
20. Calculate your current monthly income for the year. Follow these steps:
20a. Copy line 19b.. $ 1,425.62
Multiply by 12 (the number of months in a year). x 12
20b. The result is your current monthly income for the year for this part of the form. $ 17,107.44
20c. Copy the median family income for your state and size of household from line 16c...... § 76,292.00

21. How do the lines compare?

Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3,
The commitment period is 3 years. Go to Part 4.

C] Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
check box 4, The commitment period is 5 years. Go to Part 4.

By signing under penalty of perjury | declare that the information on this statement and in any attachments is true and correct.

Signature of Debtor 17 Signature of Debtor 2
“A ee
Date / 2 S Date
MM/DD / MM/ DD IYYYY

If you checked 17a, do NOT fill out or file Form 122C-2.
If you checked 17b, filf out Form 122C-—2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.

Official Form 122C-1 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period page 3

